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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                              NEWARK
Judge Chesler
Court Reporter: PHYLLIS LEWIS
2/20/2020

Title of Case
UNITED STATES OF AMERICA
v.
ZAMID LOWERY

Docket No. 19-767

Appearances:
Jonathan Romankow, AUSA
K. Anthony Thomas, AFPD
Rebekah Dawson, USPO

Nature of Proceedings-
NON CONTESTED SENTENCE

SENTENCE: 37 months on count 1 of the information The Term will run concurrently to the defendant’s
imprisonment under any previous state or federal sentence
SUPERVISED RELEASE: 3 years on count 1 of the information. Based on the information presented, he is
excused from the mandatory drug testing provision, etc.,
SPECIAL ASSESSMENT: $100.00. which shall be due immediately
The Court recommends that the BOP designated Fairton FCC or Fort Dix.
Ordered defendant remanded
Right to Appeal
11:30-12:30


s/Theresa C. Trivino, Senior Courtroom Deputy to the Honorable Stanley R. Chesler
